
28 A.3d 958 (2011)
302 Conn. 463
Michael FEINBERG
v.
Joanne FEINBERG.
No. 18414.
Supreme Court of Connecticut.
Argued September 8, 2011.
Decided October 11, 2011.
Joanne Feinberg, pro se, the appellant (defendant).
Michael Feinberg, pro se, the appellee (plaintiff).
ROGERS, C.J., and NORCOTT, PALMER, ZARELLA and McLACHLAN, Js.
PER CURIAM.
The defendant, Joanne Feinberg, appeals[1] from the judgment of the Appellate Court affirming the postdissolution order of the trial court granting the plaintiff, Michael Feinberg, physical custody of the parties' minor child. Feinberg v. Feinberg, 114 Conn.App. 589, 597, 970 A.2d 776 (2009). After examining the entire record on appeal and considering the briefs and oral arguments of the parties, we have determined that the appeal in this case should be dismissed on the ground that certification was improvidently granted.
The appeal is dismissed.
NOTES
[1]  We granted the defendant's petition for certification to appeal from the judgment of the Appellate Court limited to the following issue: "Did the Appellate Court properly affirm the decision of the trial court ordering that the minor child should change schools and his place of primary residence?" Feinberg v. Feinberg, 293 Conn. 901, 975 A.2d 1277 (2009).

